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    COUNTERCLAIM EXHIBIT C

             Case No. 2:21-cv-0811 TSZ
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Column1               Column2
AccountId             Description
4611686018489747288   Reverse Engineering Tool Attached
4611686018492287262   Reverse Engineering Tool Attached
4611686018492533333   Reverse Engineering Tool Attached
4611686018492633712   Played on soft banned device
4611686018492641557   Played on soft banned device
4611686018492641557   Reverse Engineering Tool Attached
4611686018492887002   Played on soft banned device
4611686018492887002   Reverse Engineering Tool Attached
4611686018492957059   Played on soft banned device
4611686018493059627   Reverse Engineering Tool Attached
4611686018493077722   Played on soft banned device
4611686018493084226   Played on soft banned device
4611686018493089147   Played on soft banned device
4611686018493089147   Reverse Engineering Tool Attached
4611686018493137319   Played on soft banned device
4611686018493137319   Reverse Engineering Tool Attached
4611686018493168821   Reverse Engineering Tool Attached
4611686018493223399   Played on soft banned device
4611686018493659725   Played on soft banned device
4611686018493717398   Played on soft banned device
4611686018493729046   Played on soft banned device
4611686018496674221   Played on soft banned device
4611686018496674221   Reverse Engineering Tool Attached
4611686018496692792   Played on soft banned device
4611686018496756613   Played on soft banned device
4611686018496759033   Played on soft banned device
4611686018496766601   Played on soft banned device
4611686018496769019   Played on soft banned device
4611686018496775818   Played on soft banned device
4611686018496775818   Reverse Engineering Tool Attached
4611686018496777696   Reverse Engineering Tool Attached
4611686018496777696   Played on soft banned device
4611686018496811247   Played on soft banned device
4611686018496816978   Played on soft banned device
4611686018496862882   Played on soft banned device
4611686018496946496   Played on soft banned device
4611686018496950450   Played on soft banned device
4611686018496957418   Played on soft banned device
4611686018496960184   Played on soft banned device
4611686018496994114   Played on soft banned device
4611686018496997497   Played on soft banned device
4611686018497000009   Played on soft banned device
4611686018497003700   Played on soft banned device
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4611686018497007001   GameCheats.AimJunkies binary found
4611686018497030021   Played on soft banned device
4611686018497039107   Played on soft banned device
4611686018497067752   Played on soft banned device
4611686018497071115   Played on soft banned device
4611686018497074765   Played on soft banned device
4611686018497078336   Played on soft banned device
4611686018498080495   GameCheats.AimJunkies binary found
4611686018498083507   Ban Evasion
4611686018498187281   Ban Evasion
4611686018498189735   Ban Evasion
4611686018498190646   Ban Evasion
4611686018498223179   Ban Evasion
4611686018498245097   Ban Evasion
4611686018498285340   Ban Evasion
4611686018500552040   GameCheats.AimJunkies binary found
4611686018500552040   Reverse Engineering Tool Attached
4611686018500556439   GameCheats.AimJunkies binary found
4611686018506275939   AimJunkies binary found
4611686018506305298   AimJunkies binary found
4611686018506332946   AimJunkies binary found
4611686018506342576   AimJunkies binary found
4611686018506487694   Played on soft banned device
4611686018509182098   AimJunkies binary found
4611686018509182098   Reverse Engineering Tool Attached
4611686018509183407   Played on soft banned device
4611686018509183407   AimJunkies binary found
4611686018509184525   Played on soft banned device
4611686018509184525   AimJunkies binary found
4611686018509204329   Reverse Engineering Tool Attached
4611686018509204329   Cheat Engine Attached
4611686018509204329   Played on soft banned device
4611686018509204329   AimJunkies binary found
4611686018509206618   AimJunkies binary found
4611686018509209406   Played on soft banned device
4611686018509209406   AimJunkies binary found
4611686018509220524   Played on soft banned device
4611686018509220524   AimJunkies binary found
4611686018512407923   AimJunkies binary found
4611686018512407923   AimJunkies binary found
4611686018512409000   AimJunkies binary found
4611686018512409000   AimJunkies binary found
4611686018512411450   AimJunkies binary found
4611686018512412684   AimJunkies binary found
4611686018512430464   AimJunkies binary found
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4611686018512658043         AimJunkies binary found
4611686018512659109         AimJunkies binary found
4611686018512680599         AimJunkies binary found
4611686018512680599         AimJunkies binary found
4611686018512681840         AimJunkies binary found
4611686018512736520         AimJunkies binary found
4611686018512749374         AimJunkies binary found
4611686018512750184         AimJunkies binary found
4611686018512850281         AimJunkies binary found
4611686018512851748         AimJunkies binary found
4611686018512853457         AimJunkies binary found
4611686018512854352         repeated ban evasion
4611686018514677605         Played on soft banned device
4611686018515012622         Played on soft banned device

83 Total Accounts (Some Duplicates)
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Column3
Evidence
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
Swifty's Reverse Engineering Machine (rule 19)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
Swifty's Reverse Engineering Machine (rule 19)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
Swifty's Reverse Engineering Machine (rule 19)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
g:\work files\reclass\x64\renamedreclass.exe (360B1FE16603C1106CD8DEF992846B1B)
g:\work files\reclass\x64\renamedreclass.exe (360B1FE16603C1106CD8DEF992846B1B)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
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\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)_x000D_
\??\c:\anobx14.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
Swifty's Reverse Engineering Machine (rule 19)
\??\c:\9w3x5pps7bsvyi.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
Sw1fty dev
Alt of 4611686018498083507
Sw1fty Dev Box
sw1fty dev box
Sw1fty dev box
Sw1fty dev box
Sw1fty dev box
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
g:\work  files\reclass\x64\renamedreclass.exe
\??\g:\work                                     (360B1FE16603C1106CD8DEF992846B1B)
              files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)_x000D_
\??\c:\ydhtxrue.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\c:\21pvaokvimh4e9.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\c:\jmryvv9hcu.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\c:\ph1jonb5hyg8.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\c:\o44n8.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
Repeated Ban Evasion Sw1fty box (rule 388)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
g:\work files\reclass\x64\reclass.net.exe (360B1FE16603C1106CD8DEF992846B1B)
Repeated Ban Evasion Sw1fty box (rule 388)
\??\c:\m4az3h6x42w7.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
Repeated Ban Evasion Sw1fty box (rule 388)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
c:\users\james\desktop\reclass\blah64.exe (4D09FFB3B8CFE53A8250D1A112C4CDE3)
c:\program files\cheat engine 6.8.3\cheatengine-x86_64.exe (07DD6163D84ED70969EA55A2CECD7
Repeated Ban Evasion Sw1fty box (rule 388)
\??\c:\y2qiexp1.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
Repeated Ban Evasion Sw1fty box (rule 388)
\??\c:\0658wqvm144y38.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
Repeated Ban Evasion Sw1fty box (rule 388)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
\??\c:\s513d1q822.sys     (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys   (8D98DB3A27112A9C92558FF90A1D6206)_x000D_
\??\c:\s513d1q822.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\c:\5d6tiw05.sys    (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys   (8D98DB3A27112A9C92558FF90A1D6206)_x000D_
\??\c:\5d6tiw05.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\c:\nfenyu2umjoq.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
\??\c:\sbohr4.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
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\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
\??\c:\jhpqfd52h8r4.sys  (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)_x000D_
\??\c:\jhpqfd52h8r4.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\c:\3cm1qeirrpwo.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
\??\c:\nsd0lol1k.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\c:\wdia5a3d.sys (6E73A01E5DFC8D8DEA4D8A99E9273A04)
\??\g:\work files\reclass\x64\plugins\reclasskernel64.sys (8D98DB3A27112A9C92558FF90A1D6206)
\??\c:\2wqkjrh8x5ow4ai.sys
swifty box - many aimjunkies(6E73A01E5DFC8D8DEA4D8A99E9273A04)
                             account bans_x000D_

Repeated Ban Evasion (rule 417)
Repeated Ban Evasion (rule 417)
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Column4                   Column5
DateInfractionDetected    DateInfractionOccurred
2019-10-02 23:44:11.937   2019-10-02 23:37:10.013
2019-10-16 12:22:11.800   2019-10-14 20:21:02.553
2019-10-16 21:42:29.103   2019-10-16 16:32:09.140
2019-10-17 19:48:17.493   2019-10-17 19:48:17.427
2019-10-17 21:48:19.567   2019-10-17 21:48:19.520
2019-10-17 21:49:28.757   2019-10-17 21:30:56.767
2019-10-20 02:56:35.483   2019-10-20 02:56:35.423
2019-10-20 03:00:07.350   2019-10-20 02:41:13.607
2019-10-20 16:09:29.003   2019-10-20 16:09:28.943
2019-10-21 19:04:54.133   2019-10-21 17:52:34.837
2019-10-21 22:22:19.980   2019-10-21 22:22:19.923
2019-10-21 23:39:58.117   2019-10-21 23:39:58.070
2019-10-22 00:59:36.877   2019-10-22 00:59:36.667
2019-10-22 01:00:44.603   2019-10-22 00:57:00.783
2019-10-22 20:44:47.643   2019-10-22 20:44:47.570
2019-10-22 21:04:42.607   2019-10-22 21:03:37.427
2019-10-23 02:02:06.590   2019-10-23 01:22:40.183
2019-10-28 18:14:34.183   2019-10-28 18:14:33.950
2019-10-28 21:54:35.040   2019-10-28 21:54:34.970
2019-10-29 20:55:25.653   2019-10-29 20:55:25.580
2019-10-30 17:15:44.713   2019-10-30 17:15:44.583
2019-12-10 22:15:23.623   2019-12-10 22:14:52.953
2019-12-10 22:16:09.613   2019-12-10 21:57:13.673
2019-12-11 04:15:15.267   2019-12-11 03:57:25.127
2019-12-12 17:03:11.263   2019-12-12 17:02:35.917
2019-12-12 18:22:46.190   2019-12-12 18:15:37.820
2019-12-12 21:42:51.693   2019-12-12 21:32:50.903
2019-12-12 22:42:50.537   2019-12-12 22:41:15.953
2019-12-13 01:42:49.917   2019-12-13 01:26:17.977
2019-12-13 01:43:49.417   2019-12-13 01:33:57.580
2019-12-13 17:43:28.150   2019-12-13 17:40:11.400
2019-12-13 19:02:47.807   2019-12-13 19:00:15.267
2019-12-13 20:02:55.677   2019-12-13 19:54:31.650
2019-12-13 22:02:48.560   2019-12-13 21:58:37.170
2019-12-15 19:03:13.757   2019-12-15 18:49:25.353
2019-12-15 20:43:09.617   2019-12-15 20:23:13.113
2019-12-15 23:22:57.583   2019-12-15 23:18:24.607
2019-12-16 00:42:59.443   2019-12-16 00:40:28.607
2019-12-16 19:42:58.557   2019-12-16 19:41:45.220
2019-12-16 21:03:04.000   2019-12-16 21:00:12.850
2019-12-16 22:43:00.293   2019-12-16 22:38:17.347
2019-12-16 23:42:54.323   2019-12-16 23:37:02.397
2019-12-17 01:02:54.590   2019-12-17 00:59:35.603
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2020-01-03 23:24:01.700   2019-12-17 02:37:28.413
2019-12-17 18:22:52.537   2019-12-17 18:17:29.427
2019-12-17 22:23:15.980   2019-12-17 22:06:44.493
2019-12-18 17:02:59.437   2019-12-18 16:57:51.760
2019-12-18 18:23:16.457   2019-12-18 18:06:01.643
2019-12-18 21:03:20.287   2019-12-18 20:46:09.050
2019-12-19 15:23:17.483   2019-12-19 15:08:53.197
2020-01-04 18:24:19.933   2020-01-04 18:12:54.867
2020-01-06 00:00:00.000   2020-01-06 00:00:00.000
2020-01-06 00:00:00.000   2020-01-06 00:00:00.000
2020-01-06 00:00:00.000   2020-01-06 00:00:00.000
2020-01-06 00:00:00.000   2020-01-06 00:00:00.000
2020-01-07 00:00:00.000   2020-01-07 00:00:00.000
2020-01-08 00:00:00.000   2020-01-08 00:00:00.000
2020-01-09 00:00:00.000   2020-01-09 00:00:00.000
2020-03-10 18:41:46.317   2020-03-10 18:26:32.940
2020-03-10 18:45:03.527   2020-03-10 18:30:46.920
2020-03-10 22:40:44.983   2020-03-10 22:24:23.337
2020-08-05 17:26:59.550   2020-08-05 17:11:42.770
2020-08-06 16:27:08.193   2020-08-06 16:13:14.213
2020-08-06 22:26:54.307   2020-08-06 22:02:08.137
2020-08-07 01:06:56.573   2020-08-07 00:36:27.013
2020-08-11 17:08:24.460   2020-08-11 17:04:34.737
2020-11-11 04:47:27.237   2020-11-11 04:30:28.810
2020-11-11 04:47:56.237   2020-11-11 04:29:53.170
2020-11-11 05:26:11.203   2020-11-11 05:23:24.387
2020-11-11 05:27:16.013   2020-11-11 05:08:46.957
2020-11-11 06:07:37.930   2020-11-11 05:54:34.160
2020-11-11 06:09:16.953   2020-11-11 05:50:23.333
2020-11-11 16:27:50.740   2020-11-11 16:17:23.097
2020-11-11 16:44:55.317   2020-11-11 16:36:18.977
2020-11-11 16:46:45.350   2020-11-11 16:36:54.270
2020-11-11 16:48:58.940   2020-11-11 16:21:34.840
2020-11-11 17:47:51.770   2020-11-11 17:29:22.493
2020-11-11 21:28:35.333   2020-11-11 21:15:18.827
2020-11-11 22:08:59.803   2020-11-11 21:50:20.157
2020-11-11 22:46:21.237   2020-11-11 22:28:21.583
2020-11-11 23:09:03.870   2020-11-11 22:29:30.173
2021-02-09 20:08:29.820   2021-02-09 19:49:29.727
2021-02-09 20:28:44.247   2021-02-09 20:06:51.103
2021-02-09 21:09:15.733   2021-02-09 20:48:53.973
2021-02-09 21:27:54.673   2021-02-09 20:48:08.213
2021-02-10 00:27:29.200   2021-02-09 23:57:54.680
2021-02-10 01:47:15.503   2021-02-10 00:33:59.667
2021-02-10 18:47:26.030   2021-02-10 18:31:55.210
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2021-02-17 23:56:39.540   2021-02-17 23:15:38.397
2021-02-18 00:36:38.857   2021-02-18 00:07:49.410
2021-02-18 19:37:37.123   2021-02-18 19:21:16.733
2021-02-18 20:09:23.680   2021-02-18 19:15:50.467
2021-02-18 20:57:07.517   2021-02-18 20:42:33.230
2021-02-21 00:03:21.547   2021-02-20 23:46:15.003
2021-02-21 00:45:20.917   2021-02-21 00:20:22.897
2021-02-21 17:03:33.590   2021-02-21 16:47:46.057
2021-02-24 20:02:58.550   2021-02-24 19:40:42.320
2021-02-24 21:43:00.987   2021-02-24 20:53:35.793
2021-02-24 22:42:52.763   2021-02-24 22:15:49.073
2021-02-24 00:00:00.000   2021-02-24 00:00:00.000
2021-05-12 23:27:17.010   2021-05-12 23:24:40.830
2021-05-25 23:14:37.500   2021-05-25 23:09:15.807
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Column6                                                 Column7
EvidenceHash                                            IPAddress
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
NULL                                                    174.97.110.18
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GameCheats.AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)   174.97.110.18
NULL                                                       174.97.110.18
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GameCheats.AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)   174.97.110.18
NULL                                                       NULL
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GameCheats.AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)   174.97.110.18
NULL                                                       174.97.110.18
GameCheats.AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)   174.97.110.18
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              67.219.146.74
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              67.219.146.76
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              67.219.146.74
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              174.97.110.18
NULL                                                       67.219.146.73
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)              67.219.146.77
NULL                                                       67.219.146.77
NULL                                                       174.97.110.18
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              174.97.110.18
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AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)              174.97.110.18
NULL                                                       174.97.110.18
MD5 or Certificate match Cheat Engine                      174.97.110.18
NULL                                                       174.97.110.18
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              174.97.110.18
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)              174.97.110.18
NULL                                                       67.219.146.72
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              67.219.146.72
NULL                                                       67.219.146.74
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)              67.219.146.74
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              68.235.33.133
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)              68.235.33.133
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              68.235.38.237
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)              68.235.38.237
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              68.235.38.251
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)              68.235.38.242
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)              68.235.33.171
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AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)           38.101.74.24
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)           174.97.110.18
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)           38.101.74.27
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)           38.101.74.27
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)           38.101.74.27
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)           174.97.110.18
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)           174.97.110.18
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)           174.97.110.18
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)           174.97.110.18
AimJunkies (8D98DB3A27112A9C92558FF90A1D6206)           174.97.110.18
AimJunkies (6E73A01E5DFC8D8DEA4D8A99E9273A04)           174.97.110.18
NULL                                                    NULL
NULL                                                    38.101.74.28
NULL                                                    38.101.74.29
